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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF WYOMING                                                                    19 PH 2.-11.
                                                                                                            ;4;. t: ^        -'•1 "r-y


          UNITED STATES OF AMERICA

                                 vs                                  Case Number: 17-CR-236-J

                                                                     Defendant's Attomey(s):
                  Thomas Allen Martinez
                                                                     David Weiss


                             AMENDED' JUDGMENT IN A CRIMINAL CASE

THE DEFENDANT pled guilty to counts 2 and 3.


ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following
offense(s):
                                                                                                              Count
        Title and Section                        Nature of Offense            Date Offense Concluded
                                                                                                            Numberfsl
   21 U.S.C.§§ 841(a)(1)                     Possession with Intent to
                                                                                 October 9, 2017                  2
       and (b)(1)(B)                     Distribute Methamphetamine
                                             Possession of Firearm in
  18 U.S.C. § 924(c)(1)(A)
                                               Furtherance of Drug               October 9, 2017
                 (i)                            Trafficking Crime

The defendant is sentenced as provided in pages 2 through 9 of this Judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Count 1 is dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of residence or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.

Defendant's USMNo: 16953-091                                           April 17,2018
                                                                       Date of Imposition of Sentence

                                                                              y/^                      -i
                                                                        Ian
                                                                       Alan   B. Johnson /
                                                                       United States District Judge


                                                                      Date




' Title and Section for Count 3 corrected.




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                                     IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 60 months as to count 2 and 60 months as to count 3 to be served
consecutively.

The Court recommends to the Bureau of Prisons that the defendant be placed at either FCI
Yankton or FCI Florence. The court further strongly recommends that the defendant be
permitted to participate in the Residential Drug Abuse Program.

The Court orders that any previously imposed no contact orders between the defendant and
Francine Martinez are removed.

The defendant is remanded to the custody of the United States Marshal.


                                           RETURN


         I have executed this Judgment as follows:




         Defendant delivered on                      to                              at
                                                     , with a certified copy of this Judgment.




                                                     United States Marshal/Bureau of Prisons



                                               By:
                                                     Authorized Agent




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                                 SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 4
years, concurrent as to counts 2 and 3.

The defendant shall not commit another federal, state or local crime.

The defendant shall not illegally possess a controlled substance.

The defendant shall refrain from any unlawful use of a controlled substance and submit to one
drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter (as determined by the court) for use of a controlled substance, but the condition stated
in this paragraph may be ameliorated or suspended by the court for any individual defendant if
the defendant's presentence report or other reliable information indicates a low risk of future
substance abuse by the defendant.

If a fine is imposed and has not been paid upon release to supervised release, the defendant shall
adhere to an installment schedule to pay that fine.

The defendant shall (A) make restitution in accordance with 18 U .S.C. §§ 2248, 2259,2264,
2327, 3663, 3663A, and 3664; and (B) pay the assessment imposed in accordance with 18
U.S.C. § 3013. If there is a court-established payment schedule for making restitution or paying
the assessment (see 18 U.S .C. § 3572(d)), the defendant shall adhere to the schedule.

The defendant shall submit to the collection of a DNA sample at the direction of the United
States Probation Office if the collection of such a sample is authorized pursuant to section 3 of
the DNA Analysis Backlog Elimination Act of 2000 (42 U.S .C. § 14135a).

The defendant shall comply with the standard conditions that have been adopted by this Court as
defined in the contents of the Standard Conditions page (if included in this judgment). If this
judgment imposes a restitution obligation, it shall be a condition of supervised release that the
defendant pay any such restitution that remains unpaid at the commencement of the term of
supervised release. The defendant shall comply with the following additional conditions:

The defendant shall participate in and successfully complete a substance abuse treatment
program approved by the United States Probation Officer, and abide by the rules, requirements
and conditions of the treatment program. The defendant shall not discontinue treatment without
the permission of the United States Probation Officer.

The defendant shall submit to drug and alcohol testing as directed by the United States Probation
Officer and shall comply with specific copays imposed pursuant to district policy for failing to
comply with drug testing.

The defendant shall refrain from any use or possession of alcohol and/or other intoxicants

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including over the counter medications used contrary to the recommended dosage, or the
intentional inhalation of any substance, prescribed or otherwise, without the permission of the
United States Probation Officer. Additionally, the defendant shall not enter establishments
whose primary income is derived from the sale of alcohol.

The defendant shall submit his or her person, property, storage facility, house, residence, office,
vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(1)), or other electronic
communications or data storage devices or media, to a search conducted by a United States
probation officer at a reasonable time and in a reasonable manner, based upon reasonable
suspicion of contraband or evidence of a violation of a condition. Failure to submit to a search
may be grounds for revocation of release. The defendant shall warn any other occupants that the
premises may be subject to searches pursuant to this condition.

The defendant shall participate in and successfully complete mental health treatment in a
program approved by the United States Probation Officer, and abide by the rules, requirements
and conditions of the treatment program. The defendant shall not discontinue treatment without
the permission of the United States Probation Officer.

The defendant shall participate in a cognitive-behavioral treatment regimen that may include, but
is not limited to. Moral Reconation Therapy, Cognitive Thinking, Thinking for a Change, or
Interactive Joumaling. The defendant shall actively participate in treatment until successfully
discharged or until the United States Probation Officer has excused the defendant from the
treatment regimen.

The defendant shall comply with court-ordered child support obligation. He shall execute a
Voluntary Wage Assignment for automatic payroll deductions to meet said child support
obligations. Child support payments should be dispersed to State Distribution Unit, 2300 Capitol
Avenue, 5th Floor, Suite A, Cheyenne, Wyoming 82002 (Posse No. 199843).

The defendant shall resolve any pending cases and outstanding warrants within the first six
months of supervised release.




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                        STANDARD CONDITIONS OF SUPERVISION

1. The defendant shall report to the probation office in the federal judicial district where he or
     she is authorized to reside within 72 hours of the time the defendant was sentenced or
     released from imprisonment, unless the probation officer instructs the defendant to report to
     a different probation office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from
   the court or the probation officer about how and when to report to the probation officer, and
   the defendant shall report to the probation officer as instructed.

3. The defendant shall not knowingly leave the federal judicial district where he or she is
   authorized to reside without first getting permission from the court or the probation officer.

4. The defendant shall answer truthfully the questions asked by the probation officer.

5. The defendant shall live at a place approved by the probation officer. If the defendant plans
   to change where he or she lives or anything about his or her living arrangements (such as
   the people the defendant lives with), the defendant shall notify the probation officer at least
   10 days before the change. If notifying the probation officer at least 10 days in advance is
   not possible due to unanticipated circumstances, the defendant shall notify the probation
   officer within 72 hours of becoming aware of a change or expected change.

6. The defendant shall allow the probation officer to visit the defendant at any time at his or
   her home or elsewhere, and the defendant shall permit the probation officer to take any
   items prohibitedby the conditions of the defendant's supervisionthat he or she observes in
     plain view.

7. The defendant shall work fiill time (at least 30 hours per week) at a lawful type of
   employment, unless the probation officer excuses the defendant from doing so. If the
   defendant does not have full-time employment he or she shall try to find full-time
   employment, unless the probation officer excuses the defendant from doing so. If the
   defendantplans to change where the defendant works or anything about his or her work
   (such as the position or the job responsibilities), the defendant shall notify the probation
   officer at least 10 days before the change. If notifying the probation officer at least 10 days
   in advance is not possible due to unanticipated circumstances, the defendant shall notify the
   probation officer within 72 hours of becoming aware of a change or expected change.

8.   The defendant shall not communicate or interact with someone the defendant knows is
     engaged in criminal activity. If the defendant knows someone has been convicted of a
     felony, the defendant shall not knowingly communicate or interact with that person without
     first getting the permission of the probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the defendant shall
     notify the probation officer within 72 hours.


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10. The defendant shall not own, possess, or have access to a firearm, ammunition, destructive
    device, or dangerous weapon (i.e., anything that was designed, or was modified for, the
    specific purpose of causing bodily injury or death to another person, such as nunchakus or
    tasers).

11. The defendant shall not act or make any agreement with a law enforcement agency to act as
    a confidential human source or informant without first getting the permission of the court.

12. If the probation officer determines that the defendant poses a risk to another person
    (including an organization), the probation officer may require the defendant to notify the
    person about the risk and the defendant shall comply with that instruction. The probation
    officer may contact the person and confirm that the defendant has notified the person about
     the risk.

13. The defendant shall follow the instructions of the probation officer related to the conditions
    of supervision.




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                                  FINANCIAL PENALTIES

The defendant shall pay the following total financial penalties in accordance with the schedule of
payments set out below.

 Count          Assessment        Community Restitution                 Fine

    2             $100.00                  $500.00
Notes:

    3             $100.00
Notes:


Totals:           $200.00                  $500.00




The fine and/or restitution includes any costs of incarceration and/or supervision. The fine and/
or restitution, which is due immediately, is inclusive of all penalties and interest, if applicable.

The defendant shall pay interest on any fine and/or restitution of more than Two Thousand Five
Hundred Dollars ($2,500.00), unless the fine and/or restitution is paid in full before the fifteenth
day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the below payment
options are subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).
The court has determined that the defendant does not have the ability to pay interest or penalties
and it is ordered that:


         The interest and penalties not be applied to fine and/or restitution.




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                                   COMMUNITY RESTITUTION


The defendant shall make restitution to the following persons in the following amounts:

                    Name of Payee                           Amount of Restitution


                  Office of the Clerk
                                                                    $500.00
              United States District Court
                 2120 Capitol Avenue
                2nd Floor, Room 2131
                Cheyenne, WY 82001
                              THIS IS COMMUNITY RESTITUTION




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                              SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) assessment; (2) community restitution; (3)
fine principal; (4) cost of prosecution; (5) interest; (6) penalties.

The total fine and other monetary penalties shall be due in full immediately.

It is ORDERED that the defendant shall participate in the Inmate Financial Responsibility
Program to pay all monetary obligations. While incarcerated, the defendant shall make
payments of at least $25 per quarter. Any amount not paid immediately or through the Inmate
Financial Responsibility Program shall be paid commencing 60 days after release from
confinement in monthly payments of not less than $25, or 10% of the defendant's gross monthly
income, whichever is greater. All monetary payments shall be satisfied not less than 60 days
prior to the expiration of the term of supervised release.

Payments for monetary obligations shall be made payable by check or money order to the Clerk,
U.S. District Court, 2120 Capitol Avenue, Room 2131, Cheyenne, WY 82001, and shall
reference the defendant's case number, 17-CR-236-J.




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